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                             EXHIBIT C
     Letter from Governor Ivey to Defendant Hamm Designating
                The Execution of Demetrius Frazier
                         Dated January 7, 2025
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